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8
                           UNITED STATES DISTRICT COURT
9
                          NORTHERN DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.
12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Mai Family Corporation, a                 Act; Unruh Civil Rights Act
       California Corporation
15
                 Defendants.
16
17
18         Plaintiff Brian Whitaker complains of Mai Family Corporation, a
19   California Corporation; and alleges as follows:
20
21     PARTIES:
22     1. Plaintiff is a California resident with physical disabilities. He is
23   substantially limited in his ability to walk. He suffers from a C-4 spinal cord
24   injury. He is a quadriplegic. He uses a wheelchair for mobility.
25     2. Defendant Mai Family Corporation owned The New Nails located at or
26   about 2291 Chestnut St, San Francisco, California, currently.
27     3. Defendant Mai Family Corporation owns The New Nails located at or
28   about 2291 Chestnut St, San Francisco, California, currently.


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1      4. Plaintiff does not know the true names of Defendants, their business
2    capacities, their ownership connection to the property and business, or their
3    relative responsibilities in causing the access violations herein complained of,
4    and alleges a joint venture and common enterprise by all such Defendants.
5    Plaintiff is informed and believes that each of the Defendants herein is
6    responsible in some capacity for the events herein alleged, or is a necessary
7    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
8    the true names, capacities, connections, and responsibilities of the Defendants
9    are ascertained.
10
11     JURISDICTION & VENUE:
12     5. The Court has subject matter jurisdiction over the action pursuant to 28
13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
15     6. Pursuant to supplemental jurisdiction, an attendant and related cause
16   of action, arising from the same nucleus of operative facts and arising out of
17   the same transactions, is also brought under California’s Unruh Civil Rights
18   Act, which act expressly incorporates the Americans with Disabilities Act.
19     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
20   founded on the fact that the real property which is the subject of this action is
21   located in this district and that Plaintiff's cause of action arose in this district.
22
23     FACTUAL ALLEGATIONS:
24     8. Plaintiff went to The New Nails in August 2021 with the intention to
25   avail himself of its goods or services motivated in part to determine if the
26   defendants comply with the disability access laws. Not only did Plaintiff
27   personally encounter the unlawful barriers in August 2021, but he wanted to
28   return and patronize the business several times but was specifically deterred


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1    due to his actual personal knowledge of the barriers gleaned from his
2    encounter with them.
3      9. The New Nails is a facility open to the public, a place of public
4    accommodation, and a business establishment.
5      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
6    to provide wheelchair accessible paths of travel in conformance with the ADA
7    Standards as it relates to wheelchair users like the plaintiff.
8      11. The New Nails provides paths of travel to its customers but fails to
9    provide any wheelchair accessible paths of travel.
10     12. A few problems that plaintiff encountered was that, even though there
11   was a ramped entrance, the doorway is blocked and obstructed from the inside
12   because defendants place a nail-salon chair in front of the door. There was no
13   way for plaintiff to enter The New Nails. Finally, the entrance door at the
14   stepped entrance had a door width of well below 32 inches.
15     13. Plaintiff believes that there are other features of the paths of travel that
16   likely fail to comply with the ADA Standards and seeks to have fully compliant
17   paths of travel for wheelchair users.
18     14. On information and belief, the defendants currently fail to provide
19   wheelchair accessible paths of travel.
20     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
21   personally encountered these barriers.
22     16. Meanwhile, during an investigator’s visit to The New Nails, the
23   defendants placed a sandwich board in front of the ramped entrance, which
24   also serves as an obstruction on the outside of The New Nails.
25     17. As a wheelchair user, the plaintiff benefits from and is entitled to use
26   wheelchair accessible facilities. By failing to provide accessible facilities, the
27   defendants denied the plaintiff full and equal access.
28     18. The failure to provide accessible facilities created difficulty and


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1    discomfort for the Plaintiff.
2      19. The defendants have failed to maintain in working and useable
3    conditions those features required to provide ready access to persons with
4    disabilities.
5      20. The barriers identified above are easily removed without much
6    difficulty or expense. They are the types of barriers identified by the
7    Department of Justice as presumably readily achievable to remove and, in fact,
8    these barriers are readily achievable to remove. Moreover, there are numerous
9    alternative accommodations that could be made to provide a greater level of
10   access if complete removal were not achievable.
11     21. Plaintiff will return to The New Nails to avail himself of its goods or
12   services and to determine compliance with the disability access laws once it is
13   represented to him that The New Nails and its facilities are accessible. Plaintiff
14   is currently deterred from doing so because of his knowledge of the existing
15   barriers and his uncertainty about the existence of yet other barriers on the
16   site. If the barriers are not removed, the plaintiff will face unlawful and
17   discriminatory barriers again.
18     22. Given the obvious and blatant nature of the barriers and violations
19   alleged herein, the plaintiff alleges, on information and belief, that there are
20   other violations and barriers on the site that relate to his disability. Plaintiff will
21   amend the complaint, to provide proper notice regarding the scope of this
22   lawsuit, once he conducts a site inspection. However, please be on notice that
23   the plaintiff seeks to have all barriers related to his disability remedied. See
24   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
25   encounters one barrier at a site, he can sue to have all barriers that relate to his
26   disability removed regardless of whether he personally encountered them).
27
28   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS


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1    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
2    Defendants.) (42 U.S.C. section 12101, et seq.)
3      23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
4    again herein, the allegations contained in all prior paragraphs of this
5    complaint.
6      24. Under the ADA, it is an act of discrimination to fail to ensure that the
7    privileges, advantages, accommodations, facilities, goods and services of any
8    place of public accommodation is offered on a full and equal basis by anyone
9    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
10   § 12182(a). Discrimination is defined, inter alia, as follows:
11            a. A failure to make reasonable modifications in policies, practices,
12                or procedures, when such modifications are necessary to afford
13                goods,    services,    facilities,   privileges,    advantages,   or
14                accommodations to individuals with disabilities, unless the
15                accommodation would work a fundamental alteration of those
16                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
17            b. A failure to remove architectural barriers where such removal is
18                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
19                defined by reference to the ADA Standards.
20            c. A failure to make alterations in such a manner that, to the
21                maximum extent feasible, the altered portions of the facility are
22                readily accessible to and usable by individuals with disabilities,
23                including individuals who use wheelchairs or to ensure that, to the
24                maximum extent feasible, the path of travel to the altered area and
25                the bathrooms, telephones, and drinking fountains serving the
26                altered area, are readily accessible to and usable by individuals
27                with disabilities. 42 U.S.C. § 12183(a)(2).
28     25. When a business provides paths of travel, it must provide accessible


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1    paths of travel.
2      26. Here, accessible paths of travel have not been provided in conformance
3    with the ADA Standards.
4      27. The Safe Harbor provisions of the 2010 Standards are not applicable
5    here because the conditions challenged in this lawsuit do not comply with the
6    1991 Standards.
7      28. A public accommodation must maintain in operable working condition
8    those features of its facilities and equipment that are required to be readily
9    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
10     29. Here, the failure to ensure that the accessible facilities were available
11   and ready to be used by the plaintiff is a violation of the law.
12
13   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
14   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
15   Code § 51-53.)
16     30. Plaintiff repleads and incorporates by reference, as if fully set forth
17   again herein, the allegations contained in all prior paragraphs of this
18   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
19   that persons with disabilities are entitled to full and equal accommodations,
20   advantages, facilities, privileges, or services in all business establishment of
21   every kind whatsoever within the jurisdiction of the State of California. Cal.
22   Civ. Code §51(b).
23     31. The Unruh Act provides that a violation of the ADA is a violation of the
24   Unruh Act. Cal. Civ. Code, § 51(f).
25     32. Defendants’ acts and omissions, as herein alleged, have violated the
26   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
27   rights to full and equal use of the accommodations, advantages, facilities,
28   privileges, or services offered.


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1       33. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
2    discomfort or embarrassment for the plaintiff, the defendants are also each
3    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
4    (c).)
5
6              PRAYER:
7              Wherefore, Plaintiff prays that this Court award damages and provide
8    relief as follows:
9            1. For injunctive relief, compelling Defendants to comply with the
10   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
11   plaintiff is not invoking section 55 of the California Civil Code and is not
12   seeking injunctive relief under the Disabled Persons Act at all.
13           2. For equitable nominal damages for violation of the ADA. See
14   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
15   and any other equitable relief the Court sees fit to grant.
16           3. Damages under the Unruh Civil Rights Act, which provides for actual
17   damages and a statutory minimum of $4,000 for each offense.
18           4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
19   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
20
     Dated: August 18, 2021               CENTER FOR DISABILITY ACCESS
21
22
23                                        By: _______________________
24                                              Amanda Seabock, Esq.
                                                Attorney for plaintiff
25
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